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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MASSACHUSETTS


STATE OF CALIFORNIA, et al.,

                              Plaintiffs,
                                                            Case No. 1:25-cv-10810-DJC
v.


DONALD J. TRUMP, in his official capacity as
President of the United States, et al.,

                              Defendants.




     UNOPPOSED MOTION OF THE REPUBLICAN PARTY OF ARIZONA FOR LEAVE
                    TO FILE A BRIEF AS AMICUS CURIAE


        The Republican Party of Arizona (“RPAZ”) respectfully moves for leave to file a brief in

this proceeding as an amicus curiae. The RPAZ’s proposed brief is attached hereto as Exhibit A.

As grounds for this Motion, the RPAZ states as follows:

        1.     Although no specific court rule governs amicus briefs in the federal district courts,

this Court has recognized that amici can “assist the court ‘in cases of general public interest by

making suggestions to the court, by providing supplementary assistance to existing counsel, and

by insuring a complete and plenary presentation of difficult issues so that the court may reach a

proper decision.’” Students for Fair Admissions, Inc. v. President and Fellows of Harvard Coll.,

308 F.R.D. 39, 52 (D. Mass. 2015) (internal citation omitted). More broadly, courts are “well

advised to grant motions for leave to file amicus briefs unless it is obvious that the proposed briefs

do not meet” the criteria of any relevant rules, “as broadly interpreted.” Neonatology Associates,



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P.A. v. C.I.R., 293 F.3d 128, 133 (3d Cir. 2002) (Alito, J.); see also id. at 131 (observing that “an

amicus who makes a strong but responsible presentation in support of a party can truly serve as

the court’s friend”).

       2.      The RPAZ is a statewide political party committee under Arizona law, and the

organizing body of Arizona electors who are registered members of the Republican Party, the

largest political party in Arizona. The RPAZ sponsors and engages in large-scale voter registration

efforts, and promotes the election of Republican candidates in Arizona.

       3.      The RPAZ has direct and substantial interests in the subject matter of this litigation

and the relief that the Plaintiffs seek. Executive Order No. 14248, Preserving and Protecting the

Integrity of American Elections, 90 Fed. Reg. 14005 (Mar. 25, 2025) (the “Executive Order”),

regulates voter registration procedures and prerequisites nationwide. The Executive Order’s

provisions—and, by extension, any injunctions prohibiting their implementation—necessarily

structure and condition the competitive environment in which the electoral system and its

participants (including the RPAZ) operate. See Shays v. Fed. Election Comm’n., 414 F.3d 76, 86

(D.C. Cir. 2005) (recognizing political actors’ interests in regulatory developments that “alter the

competitive environment’s overall rules”); Daggett v. Comm’n on Governmental Ethics &

Election Practices, 172 F.3d 104, 116 (1st Cir. 1999) (Lynch, J., concurring) (“Legislators and

candidates, whose interests are directly implicated by campaign regulation, have often acted as

intervenors” in related litigation); Hollander v. McCain, 566 F. Supp. 2d 63, 68 (D.N.H. 2008)

(recognizing that political parties can litigate election-related issues under a theory of “competitive

standing”).

       4.      As an Arizona-based organization, RPAZ’s perspective on the use of documentary

proof of citizenship in voter registration carries particular salience. Since 2004, Arizona has been




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virtually alone among the 50 states in requiring voters who use the state voter registration form to

provide documentary proof of citizenship. See Ariz. Rev. Stat. §§ 16-166(F), 16-121.01(C). The

Executive Order would adapt Arizona’s regulatory approach to the Federal Form published by the

Election Assistance Commission (“EAC”). Under Arizona’s unique bifurcated voter registration

system, individuals who register with the Federal Form and who do not have proof of citizenship

on file with the state are designated as “federal-only” voters, and are ineligible to vote in state and

local elections. See Ariz. Atty. Gen. Op. I13-011, 2013 WL 5676943 (Oct. 7, 2013). By extending

the documentary proof of citizenship criterion to the Federal Form, the Executive Order ensures a

more uniform and secure voter registration framework both in Arizona and nationwide.

       5.      The RPAZ and related Republican Party organizations have participated as parties

and amici in various iterations of the long-running litigation arising out of Arizona’s proof of

citizenship laws. E.g., Mi Familia Vota v. Fontes, 129 F.4th 691 (9th Cir. 2025) (petition for

rehearing en banc pending). The Republican National Committee recently obtained from the U.S.

Supreme Court a stay of an injunction against the enforcement of an Arizona statute that requires

registrants using Arizona’s state registration form to provide proof of citizenship. See Republican

Nat’l Comm. v. Mi Familia Vota, 145 S. Ct. 108 (Mem.) (2024).

       6.      The RPAZ thus is well-positioned to offer the Court a detailed and nuanced analysis

of the “complex superstructure of federal regulation atop state voter-registration systems,” Pub.

Interest Legal Found., Inc. v. Bellows, 92 F.4th 36, 52 (1st Cir. 2024) (internal citation omitted),

created by the National Voter Registration Act of 1993, 52 U.S.C. § 20501, et seq. (“NVRA”).

       7.      The crux of the amicus’ argument is that the U.S. Supreme Court has explicitly, see

Arizona v. Inter Tribal Council of Ariz., Inc., 570 U.S. 1, 12 (2013), and implicitly, see Republican

Nat’l Comm., 145 S. Ct. at 108, concluded that documentary proof of citizenship is—or at least




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can be—“necessary to enable the appropriate State election official to assess the eligibility of the

applicant and to administer voter registration and other parts of the election process,” within the

meaning of the NVRA. 52 U.S.C. § 20508(b)(2). It follows that, regardless of whether or in what

manner the President can direct the EAC’s proceedings, the EAC itself undoubtedly has statutory

authority to include a proof of citizenship component in the Federal Form.

          8.   The RPAZ is concerned that Plaintiffs’ misinterpretation of the NVRA to preclude

any documentary proof of citizenship requirement in federal elections under any circumstances

embodies a consequential interpretative error that, if accepted by the Court, would conflict with

ICTA and the Supreme Court’s interim order in the ongoing Arizona litigation, as well as carry

disruptive and deleterious repercussions for the RPAZ’s (and others’) voter registration activities

in Arizona.

          9.   Counsel for the parties have represented to the undersigned that they do not oppose

the RPAZ’s request for leave to file an amicus brief.



WHEREFORE, the RPAZ respectfully requested leave to file its proposed brief as an amicus

curiae.




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Dated: May 19, 2025                          Respectfully submitted,


                                             STATECRAFT PLLC


                                        By: /s/Thomas Basile
                                            Thomas Basile (BBO #675427)
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                                             Counsel for Amicus Curiae Republican Party of
                                             Arizona


                             LOCAL RULE 7.1 CERTIFICATION

       I hereby certify that I conferred via email with counsel for the parties. Counsel for the

Plaintiffs and counsel for the Defendants stated that they do not oppose RPAZ’s requested leave

to file an amicus curiae brief.

Dated: May 19, 2025                                   /s/Thomas Basile
                                                      Thomas Basile


                                  CERTIFICATE OF SERVICE

       I hereby certify that this document filed through the ECF system will be sent electronically

to the registered participants on May 19, 2025.



Dated: May 19, 2025                                   /s/Thomas Basile
                                                      Thomas Basile




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